   Case 4:05-cr-00195-A Document 809 Filed 05/31/22              Page 1 of 3 PageID 5473


                      IN



ANTHONY STEVEN AGUILAR,                        §
                                               §
               Movant,                         §
                                               §
VS.                                            §    NO. 4:21-CV-011-A
                                               §    (NO. 4:05-CR-195-A)
UNITED STATES OF AMERICA,                      §
                                               §
               Respondent.                     §


                                            ORDER

       Pursuant to the mandate of the United States Court of

Appeals for the Fifth Circuit, this action has been remanded for

further proceedings so that the court can reconsider the motion

of Anthony Steven Aguilar, movant, for compassionate release in

light of United States v. Shkambi, 993 F.3d 388 (5th Cir. 2021)

The court, having considered the motion, the record, including

the record in the underlying criminal case, No. 4:05-CR-195-A,

and applicable authorities,              finds that the motion should be

denied.

       In Shkambi, which was decided after the court denied

movant's motion in this case, the Fifth Circuit determined that

neither the sentencing guidelines' policy statement nor the

commentary is binding on the court when addressing a motion

under§ 3582. 993 F.3d at 393. Instead, the court is bound only

by 18 U. S . C . § 3 5 8 2 ( c ) ( 1 ) (A) and 18 U . S . C . § 3 5 5 3 (a) .

                                              1
  Case 4:05-cr-00195-A Document 809 Filed 05/31/22   Page 2 of 3 PageID 5474


Nevertheless, the court may use the policy statement as a tool

in its review of the motion. In sum, to prevail on a motion for

compassionate release, the movant must still (1) show

extraordinary reasons,     (2) show that compassionate release is

consistent with applicable policy statements, and (3) convince

the district judge to exercise discretion to grant the motion

after considering the§ 3553(a) factors. United States v.

Cooper,   996 F.3d 283, 287   (5th Cir. 2021) (citing Shkambi,      993

F.3d at 392).

     The court previously found that movant had not demonstrated

any extraordinary and compelling reason why he should receive a

reduction of sentence and the Fifth Circuit has not disturbed

that finding. Movant does not appear to have a medical condition

that would qualify as extraordinary or compelling. Nor does he

appear to meet any other criteria of the policy statement.            (As

noted in the court's earlier opinion, movant is not eligible for

a reduction in sentence based on amended guidelines.)

     As the court noted in its prior opinion, movant was only 47

years of age at the time he filed his motion and is serving a

360 month sentence. Movant's criminal history includes

convictions for impersonating a public servant and assault

causing bodily injury. The court cannot find that movant is not

a danger to the safety of any other person or to the community.


                                     2
  Case 4:05-cr-00195-A Document 809 Filed 05/31/22   Page 3 of 3 PageID 5475


Further, weighing the factors of 18 U.S.C. § 3553(a), the court

is not inclined to grant relief.

     Immediate release of movant would not be in the interest of

justice. Rather, it would minimize the seriousness of his crimes

and conduct and encourage every other prisoner who could not

obtain relief under 28 U.S.C. § 2255 to seek compassionate

relief for extraordinary and compelling circumstances. See

United States v. Cantu, No. 1:05-CR-458-1, 2019 WL 2498923, at

*5 (S .D. Tex. June 17, 2019) (discussing appropriateness of

relief where the determination is narrow and unlikely to have

far-reaching implications); United States v. Nevers, No. 16-88,

2019 WL 7281929, at *5-6 (E.D. La. Dec. 27, 2019) (same)           In sum,

a reduction of movant's sentence would not reflect the

seriousness of his conduct, promote respect for the law, provide

just punishment, or afford adequate deterrence to criminal

conduct.

     The court ORDERS that movant•s motion for compassionate

release be, and is hereby, denied.

     SIGNED May 31, 2022.




                             //
                                     3
